

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-73,076-01






EX PARTE CHEECKO GILBERT, Applicant








ON APPLICATION FOR A WRIT OF HABEAS CORPUS


CAUSE NO. 24,509 IN THE 354TH DISTRICT COURT


FROM HUNT COUNTY





	Per curiam.

		

O R D E R



	Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of aggravated
assault with a deadly weapon and sentenced to forty years' imprisonment.  The Fifth Court of
Appeals affirmed his conviction.  (Gilbert v. State, No. 05-08-00482-CR, delivered February 17,
2009). 

	Applicant contends that his trial counsel rendered ineffective assistance by  failing to prepare
a defense, failing to have a trial strategy, failing to request a pre-trial psychiatric examination, failing
to present mitigating evidence of Applicant's mental disorder, failing to request that a psychiatrist
be appointed to present mitigating evidence, failing to request that a medical expert be appointed to
present evidence of Applicant's physical disabilities, failing to request that an expert be appointed
to refute the testimony of the State's expert, allowing Applicant to plead to a fundamentally defective
indictment, failing to call an eyewitness for the defense who would corroborate Applicant's version
of events, and failing to uphold Applicant's right to a fair and impartial jury.

	Applicant has alleged facts that, if true, might entitle him to relief.  Strickland v. Washington,
466 U.S. 608 (1984); Ex parte Lemke, 13 S.W.3d 791,795-96 (Tex. Crim. App. 2000).  In these
circumstances, additional facts are needed.  As we held in Ex parte Rodriguez, 334 S.W.2d 294, 294
(Tex. Crim. App. 1960), the trial court is the appropriate forum for findings of fact.  The trial court
shall provide Applicant's trial counsel with the opportunity to respond to Applicant's claim of
ineffective assistance of counsel.  The trial court may use any means set out in Tex. Code Crim.
Proc. art. 11.07, § 3(d).  In the appropriate case, the trial court may rely on its personal recollection. 
Id.

	If the trial court elects to hold a hearing, it shall determine whether Applicant is indigent. If
Applicant is indigent and wishes to be represented by counsel, the trial court shall appoint an
attorney to represent Applicant at the hearing.  Tex. Code Crim. Proc. art. 26.04. 

	The trial court shall make findings of fact as to whether the performance of Applicant's trial
attorney was deficient and, if so, whether counsel's deficient performance prejudiced Applicant.  The
trial court shall also make any other findings of fact and conclusions of law that it deems relevant
and appropriate to the disposition of Applicant's claim for habeas corpus relief.

	This application will be held in abeyance until the trial court has resolved the fact issues.  The
issues shall be resolved within 90 days of this order.  If any continuances are granted, a copy of the
order granting the continuance shall be sent to this Court. A supplemental transcript containing all
affidavits and interrogatories or the transcription of the court reporter's notes from any hearing or
deposition, along with the trial court's supplemental findings of fact and conclusions of law, shall
be returned to this Court within 120 days of the date of this order.  Any extensions of time shall be
obtained from this Court. 




Filed: January 27, 2010

Do not publish


